Case 14-10408-amc      Doc 63     Filed 05/31/16 Entered 06/01/16 13:05:39              Desc Main
                                  Document     Page 1 of 1

                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
     IN RE:                                       BK. No. 14-10408 AMC
     ROBIN L. HOLLAND
     A/K/A ROBIN L. HOLLAND PERALTA               Chapter No. 13
                            Debtor

     SETERUS,INC.
                                  Movant
                          V.                                     11 U.S.C. §362
     ROBIN L. HOLLAND
     A/K/A ROBIN L. HOLLAND PERALTA
                          Respondent

      ORDER GRANTING RELIEF FROM THE STAY IN ORDER TO PROCEED WITH LOAN
                               MODIFICATION

          AND NOW, this yV>^d; y of                       , 2016, at PHILADELPHIA, upon Motion of
     SETERUS, INC. (Movant), it is:

           ORDERED, that approval and recording Iff applicable) of the loan modification shall in no
     way constitute a violation of the automatic stay; and it is further;

            ORDERED that M ovant shall be perm itted to comm unicate with the De btors and De btors'
     counsel to the extent necessary to comply with apphcable non-bankruptcy law;




      WILLIAM C. MILLER, ESQUIRE (TRUSTEE) ROBIN HOLLAND
      1234 Market Street, Suite 1813       987 HICKORY RIDGE DRIVE
      PHILADELPHIA, PA 19107               CHALFONT, PA 18914-4419

      JON M. ADELSTEIN, ESQUIRE
      350 S MAIN STREET, PENN'S COURT STE
      105
      DOYLESTOWN, PA 18901

      UNITED STATES TRUSTEE
      833 CHESTNUT STREET, SUITE 500
      PHILADELPHIA, PA 19107
